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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

MARCUS WILSON                                        §
     Plaintiff,                                      §
                                                     §
VS.                                                  §   Civil Action No. 4:18-CV-162
                                                     §
TEICHMAN GROUP, LLC., et al.,                        §
      Defendants.                                    §

                  PLAINTIFF’S OPPOSED MOTION TO REMAND;
            ALTERNATIVELY, MOTION TO DISMISS WITHOUT PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE

         Plaintiff files this Motion to Remand pursuant to 28 U.S.C. §1447(c), seeking a remand of

his case to the 190th Judicial District Court of Harris County, Texas, in response to Defendants

Lightering, LLC and Cheramie Marine, LLC’s Removal that was filed January 19, 2018 (Doc.1).

In support thereof, Plaintiff respectfully shows:

                                              I. INTRODUCTION

         Plaintiff Marcus Wilson is the father of the late Blake Carlisle. Mr. Carlisle was killed

when a crane toppled over on top of him at work. Plaintiff Wilson filed the underlying lawsuit,

Cause No. 2017–65533, in the 190th Judicial District Court of Harris County, on October 10,

2017, seeking damages against Defendants Teichman Group, LLC, T&T Marine, Inc., Express

Professional Services, Inc., and Lightering, LLC.1 Defendant Lightering answered this lawsuit on

November 6, 2017.2 On November 27, 2017, Plaintiff amended his petition to add Defendant

Cheramie Marine.3 Without filing an answer, Cheramie Marine removed this case on January 19,

2018. Plaintiff voluntarily dismissed Cheramie Marine on January 22, 2018 (Doc.2).


1 Ex.1: Plaintiff’s original petition.
2 Ex.2: Lightering, LLC’s Answer.
3 Ex.3: Plaintiff’s first amended petition.
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         For the reasons set forth herein, Plaintiff’s lawsuit should be remanded in its entirety to the

190th Judicial District Court of Harris County, Texas in which it was filed. The standard of

review for a court’s decision to remand pendent state law claims to the state court from which the

case was removed is abuse of discretion. Priester v. Lowndes Cnty., 354 F.3d 414, 425 (5th

Cir.2004).

                                         II. CONTROLLING LAW

         There is an open, unsettled question on whether this Court has federal question jurisdiction

over Plaintiff’s claims against Cheramie Marine based solely on admiralty jurisdiction.4 This

Court, however, does not have to consider this question because all claims against Cheramie

Marine have been dismissed, and Plaintiff’s remaining claims are purely state-law claims, over

which this Court does not have original jurisdiction. 5 It is undisputed that this Court lacks

diversity jurisdiction. Therefore, pursuant to 28 U.S.C. § 1447(c) and § 1367(c), Plaintiff

respectfully requests that this Court decline to exercise supplemental jurisdiction over Plaintiff’s

state-law claims and that this case be remanded to the 190th Judicial District Court of Harris

County, Texas.




4 See Sanders v. Cambrian Consultants (CC) Am., Inc., 132 F.Supp.3d 853, 855 (S.D. Tex. 2015); Ritchy v. Kirby
Corp., 2015 WL 4657548, at *3 (S.D. Tex. Aug. 5, 2015)(Hanks, J.); Alexander v. Seago Consulting, LLC, 2014 WL
2960419, at *1 (S.D. Tex. June 23, 2014)(Hoyt, J.); Clear Lake Marine Ctr., Inc. v. Leidolf, 2015 WL 1876338, at *1–
3 (S.D. Tex. Apr. 22, 2015)(Lake, J.); Serigny v. Chevron U.S.A., Inc., No. 14–0598, 2014 WL 6982213, at *4 (W.D.
La. Dec. 9, 2014)(collecting cases); Parker v. U.S. Environmental Svcs., LLC, G–14–292, 2014 WL 7338850
(S.D.Tex. Dec.22, 2014) (Ellison, J.); Figueroa v. Marine Inspection Services, 28 F.Supp.3d 677 (S.D. Tex. 2014)
(Ramos, J.); Rutherford v. Breathwite Marine Contractors, Ltd., No. G–13–0312, 2014 WL 6388786 (S.D.Tex.
Nov.12, 2014) (Gilmore, J.); Waddell v. Edison Chouest Offshore, No. G–14–170, 2015 WL 1285718 (S.D. Tex.
March 20, 2015) (Harmon, J.); Rogers v. BBC Chartering America, LLC, No. H–13–3741, 2014 WL 819400 (S.D.
Tex. March 3, 2014) (Hoyt, J.); Mims v. Deepwater Corrosion Servs., Inc., 90 F.Supp.3d 679, 691 (S.D. Tex. 2015);
Forde v. Hornblower New York, LLC, 243 F.Supp.3d 461, 468 (S.D.N.Y. 2017); Sanders; Gregoire v. Enterprise
Marine Services, LLC, 38 F.Supp.3d 749, 759–62 (E.D. La.2014) (Duval, J.).
5 In the event Lightering contends the claims against it do invoke federal jurisdiction, its right to remove those claims
based on such was waived long ago. See 28 U.S.C. § 1441(b)(1) (requiring notice of removal be filed within 30 days
after a defendant receives through service “or otherwise” of a copy of the initial pleading).



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       A.      Standard for remand

       A federal court has subject matter jurisdiction over two types of cases: (1) those arising

under the Constitution, laws, or treaties of the United States (federal question jurisdiction), and (2)

those in which there is complete diversity of citizenship and the amount in controversy exceeds

$75,000 (‘diversity’ jurisdiction).” See 28 U.S.C. §§ 1331, 1332.

       “The removing defendant bears the burden of establishing federal jurisdiction. Winters v.

Diamond Shamrock Chem. Co., 149 F.3d 387, 397 (5th Cir. 1998) “Because removal raises

significant federalism concerns, the removal statute is strictly construed ‘and any doubt as to the

propriety of removal should be resolved in favor of remand.’” Gutierrez v. Flores, 543 F.3d 248,

251 (5th Cir. 2008) (quoting In re Hot–Hed, Inc., 477 F.3d 320, 323 (5th Cir. 2007)).

       B.      The Court lacks original jurisdiction over any of Plaintiff’s remaining claims.

       The law is in dispute as to whether general maritime claims are removable on that basis

alone. However, the Court does not need to wade into that controversy to determine whether it

has original jurisdiction over this case. On January 22, 2018, Plaintiff voluntarily dismissed his

claims against Cheramie Marine. [Doc. 2]. Plaintiff was entitled to voluntarily dismiss his

claims against Cheramie Marine under Federal Rule of Civil Procedure 41, which provides that a

plaintiff has the absolute right—without the need for court action—to dismiss claims against a

defendant who has not yet filed either an answer or a summary judgment motion. See Fed. R.

Civ. P. 41(a)(1)(A)(i). A notice of dismissal filed under Rule 41(a)(1)(A)(i) is self-executing and

instantaneous. See, e.g., American Cyanamid Co. v. McGhee, 317 F.2d 295, 297 (5th Cir. 1963)

(holding that voluntary dismissal notice under Rule 41(a)(1)(A)(i) itself closes the file); see also

Plains Growers, Inc. v. Ickes-Braun Glasshouses, Inc., 474 F.2d 250, 255 (5th Cir. 1973)

(concluding that Rule 41(a) “was intended by the rule-makers to permit dismissal against such of




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the defendants as have not served an answer or motion for summary judgment, despite the fact that

the case might remain pending against other defendants”).

           It is undisputed that Plaintiff’s claims against Cheramie Marine formed the only basis for

this Court’s determination that there was federal question jurisdiction. In fact, Defendant’s notice

of removal provides as much: “Because Plaintiff has asserted claims against Cheramie, the owner

of the Elliott Cheramie, this Notice of Removal is filed on the basis of jurisdiction conferred by 28

U.S.C. §§ 1333 and 1441(a).”6 Plaintiff’s remaining claims against the Teichman defendants and

Lightering are purely Texas state-law negligence claims and do not implicate federal question

jurisdiction. To the extent that Lightering does contend that the claims against it implicate federal

question jurisdiction, the deadline for it to remove based on such basis came and went long ago.

Furthermore, it is undisputed that this Court lacks diversity jurisdiction because there is not

complete diversity of citizenship among the parties. Therefore, the only basis for jurisdiction

over Plaintiff’s remaining state-law claims is supplemental jurisdiction under 28 U.S.C. § 1367(a).

This Court should decline to hold this case on that basis.

           C.     This Court should decline to exercise supplemental jurisdiction over
                  Plaintiffs’ remaining state-law claims and remand this case.

           Under 28 U.S.C. § 1367(a), in a civil action where a district court has original jurisdiction,

the district court “shall have supplemental jurisdiction over all other claims that are so related to

claims in the action within such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution.” 28 U.S.C. § 1367(a). However,

a district court “may decline to exercise supplemental jurisdiction over a claim under subsection

(a) if –

           (1)    the claim raises a novel or complex issue of State law,


6 Cheramie Marine’s notice of removal, Doc. 1, page 3.



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        (2)      the claim substantially predominates over the claim or claims over which the

district has original jurisdiction,

        (3)      the district court has dismissed all claims over which it has original jurisdiction, or

        (4)      in exceptional circumstances, there are other compelling reasons for declining

jurisdiction.”

        28 U.S.C. § 1367(c). The Fifth Circuit applies the § 1367(c) “statutory factors” in a

balancing test to determine whether remand is appropriate. See Enochs v. Lampasas Cnty., 641

F.3d 155, 158-59 (5th Cir. 2011); see also Mendoza v. Murphy, 532 F.3d 342, 346 (5th Cir. 2008)

(noting that “no single factor is dispositive”). Additionally, the United States Supreme Court has

created a set of “common law factors” to be considered, which include “judicial economy,

convenience, fairness, and comity.” Enochs, 641 F.3d at 159 (citing Carnegie-Mellon Univ. v.

Cohill, 484 U.S. 343, 350 (1988)).

        1.       Federal courts heavily favor remand where federal claims are dropped early
                 in litigation, leaving only state-law claims.

        It is well-settled under United States Supreme Court and Fifth Circuit jurisprudence that a

remand of remaining state-law claims is heavily favored when federal claims are dismissed early

in the litigation. As the United States Supreme Court stated in Carnegie-Mellon, “[w]hen the

single federal-law claim in the action [is] eliminated at an early stage of the litigation, the District

Court ha[s] a powerful reason to choose not to continue to exercise jurisdiction.”

Carnegie-Mellon, 484 U.S. at 351. Both the United States Supreme Court and the Fifth Circuit

have long cautioned district courts that “[n]eedless decisions of state law should be avoided both as

a matter of comity and to promote justice between the parties, by procuring for them a surer-footed

reading of applicable law.” Mine Workers v. Gibbs, 282 U.S. 715, 726 (1966); see also Enochs,




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641 F.3d at 162 (“The courts in this circuit must remain diligent in following the Supreme Court’s

almost fifty-year-old command that federal courts avoid needless decisions of state law.”).

       Therefore, “the general rule is that a court should decline to exercise jurisdiction over

remaining state-law claims when all federal-law claims are eliminated before trial.” Brookshire

Bros. Holding, Inc. v. Dayco Prods., Inc., 554 F.3d 595, 602 (5th Cir. 2009). It is an abuse of

discretion to exercise supplemental jurisdiction where the only federal claims have been dismissed

early and the statutory and common law factors favor remand. Enochs, 641 F.3d at 161-62 (“Our

deference cannot stretch so far as to find no abuse of discretion where, as is the case here, all

federal claims were deleted at the infancy of the case and the balance of the statutory and common

law factors weigh heavily in favor of remand.”); see also Beiser v. Weyler, 284 F.3d 665, 675 (5th

Cir. 2002) (noting that where “no other grounds for federal jurisdiction exist, the court must

ordinarily remand the case back to state court”).

       The Fifth Circuit’s opinions in Enochs and Parkery & Parsley demonstrate that this Court

should decline to exercise its supplemental jurisdiction and should instead remand this case back

to Texas state court. In Parker & Parsley Petroleum Company v. Dresser Industries, the plaintiff

originally elected to file suit in federal court based on federal question jurisdiction. See Parker &

Parsley Petroleum Co. v. Dresser Indus., 972 F.2d 580, 587-89 (5th Cir. 1992). However, the

plaintiff’s only federal claim was later dismissed one month before trial, leaving only purely

state-law claims. Id. Over the nine months that the case had been pending, the parties engaged in

extensive discovery and motion practice. Id.

       Nevertheless, the Fifth Circuit found that the district court abused its discretion by

continuing to exercise supplemental jurisdiction over the remaining state-law claims. Specifically,

the Fifth Circuit held that “a number of facts and circumstances weigh[ed] in favor of relinquishing




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jurisdiction,” which included, among others, that (1) the case was “only nine months” old; (2) trial

was “still a few weeks away;” (3) “discovery had not been completed;” (4) remaining in federal

court would not “prevent[ ] redundancy [or] conserve[ ] substantial judicial resources;” (5) there

would be no “undue inconvenience” such as a “tremendous financial drain” or a necessity for new

legal research if the case was remanded; (6) the parties would not be prejudiced by remand; and (7)

“important interests of federalism and comity” heavily favored remand. See Enochs, 641 F.3d at

162 (quoting Parker & Parsley, 972 F.2d at 587-89).

       This case is most similar to Enochs v. Lampasas County. There, a former employee of

Lampasas County sued the County in Texas state court based on one state law claim and two

federal claims. Enochs, 641 F.3d at 157. The County removed the case to federal court based on

the federal claims. Id. Less than three months later, the plaintiff filed an unopposed motion to

amend his complaint to delete all federal claims and filed a separate motion to remand since only a

state law claim would remain after amendment. Id. The district court granted the plaintiff leave

to remove the federal claims from his complaint but denied his motion to remand. Id. at 157-58.

       Noting that the circumstances in Enochs favored remand far more than those in Parker &

Parsley, the Fifth Circuit held that the district court abused its discretion by failing to remand the

case to state court. Id. at 162-63. Specifically, the court noted:

       [W]hen this case became a purely Texas state law dispute, it was still in its infancy
       (less than three months old), no discovery had occurred, no hearings or trial dates
       had been scheduled, the district court was not even moderately familiar with any of
       the Texas state law issues, no financial or other inconvenience would have
       occurred, and no prejudice would have arisen.

Id. at 162. Accordingly, the Fifth Circuit found that the statutory and common law factors

“weigh[ed] heavily in favor of remanding the pendent Texas state law claims.” Id. at 163.




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       2.      Applying the reasoning in Parker & Parsley and Enochs, both the statutory
               and common law factors favor remand here.

       Both the statutory factors in 28 U.S.C. § 1367(c) and the common law factors heavily

weigh in favor of remanding this case.

               a.      The statutory factors

       Most notably, the second and third statutory factors strike a heavy balance in favor of

remand. As in Enochs, the second statutory factor favors remand because Plaintiff’s state-law

tort claims “substantially predominate over the claim or claims over which the district has original

jurisdiction” because the federal claims are nonexistent. 28 U.S.C. § 1367(c)(2); see Enochs, 641

F.3d at 159 (finding that the plaintiff’s “Texas state law claims predominate over the non-existent

federal claims”). Likewise, the third factor also favors remand because “the district court has

dismissed all claims over which it has original jurisdiction.” 28 U.S.C. § 1367(c)(3); see Enochs,

641 F.3d at 159 (finding that “the district court dismissed all federal claims when it granted

[plaintiff’s] motion to file an amended complaint”). Additionally, the first factor, which considers

whether “the claim raises a novel or complex issue of State law,” favors remand because this case,

along with the companion Yang case, involves multiple plaintiffs who have asserted personal

injury claims against several defendants. See 28 U.S.C. § 1367(c)(1). Due to its size, this case will

likely involve complex issues of Texas state law. Finally, the fourth factor, which considers

whether “in exceptional circumstances, there are other compelling reasons for declining

jurisdiction,” favors remand because the heavy balance of the common law factors in favor of

remand constitute a compelling reason for this Court to decline supplemental jurisdiction. 28

U.S.C. § 1367(c)(4). Accordingly, “the overall balance of the statutory factors weighs heavily in

favor of remand.” Enochs, 641 F.3d at 159.




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                b.      The common law factors

        The common law factors, which include “judicial economy, convenience, fairness, and

comity,” also weigh in favor of remand. See id. (citing Carnegie-Mellon, 484 U.S. at 353). Just

like in Enochs, this case is only approximately three months old. The federal case is only about

three days old. No discovery has occurred, no hearings have occurred, and no trial date has been

set. And as of the time that Plaintiff dismissed his claims against Cheramie Marine, no federal

judicial resources have been devoted to consideration of the state law claims against the Teichman

defendants and Lightering. Like Enochs, there is also “no indication that the district court had

any ‘substantial familiarity’ or was intimately familiar with the Texas state law claims at such an

early stage of the litigation.” Id.

        Furthermore, as in Enochs, “[t[here would be no need for either party to duplicate any

research, discovery, briefing, hearings, or other trial preparation work, because very little ha[s]

been done at th[is] point.” Enochs, 641 F.3d at 159. Indeed, it is difficult to imagine what

inconvenience, harm, or prejudice to Teichman or Lightering would incur if this case was

remanded back to state court in Houston. Accordingly, “the judicial economy factor certainly

favors remand” here. See id. at 160 (holding that judicial economy factor favored remand

because little work had been done by the district court or the parties regarding the state law

claims).

        As to the convenience factor, there is no indication that this case would be more convenient

in this court than in state court. In fact, the courts are only blocks from one another. Moreover,

as the Fifth Circuit noted in Enochs, the judicial economy and convenience factors are interrelated,

so remand will not cause any financial inconvenience to the parties because they will not have “to

duplicate any of their previous efforts or expenses.” Id.




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        Next, this Court should consider fairness. In Enochs, the Fifth Circuit found that “it was

certainly fair to have had the purely Texas state law claims heard in Texas state court, and there is

nothing to indicate that either party would have been prejudiced by a remand to Texas state court.”

Id. (citing Parker & Parsley, 972 F.2d at 588). The same is true here—there is nothing to indicate

that any party would be prejudiced by a remand back to state court. See Enochs, 641 F.3d at 161

(“The mistake which led the district court to abuse its discretion was in failing to reconsider its

jurisdiction over the Texas state law claims as of the moment it granted [plaintiff’s] motion to file

an amended complaint deleting all federal claims from the case. Courts are instructed to examine

their jurisdiction at every stage of the litigation.”) (citation omitted).

        Finally, as the Fifth Circuit held in Enochs, given that only purely state-law claims

remain—over which no party argues there is federal question or diversity jurisdiction—“comity

demands that the ‘important interests of federalism and comity’ be respected by federal courts,

which are courts of limited jurisdiction and ‘not as well equipped for determination of state law as

are state courts.’” Id. at 160; see also Parker & Parsley, 972 F.2d at 587-89; Gibbs, 383 U.S. at

726 (cautioning that “[n]eedless decisions of state law should be avoided”).

        Therefore, the overall balance of both the statutory and common law factors weighs

heavily in favor of remand.

        3.      Plaintiffs have not engaged in improper forum manipulation.

        Finally, federal courts have been “instructed to guard against improper forum

manipulation.” Enochs, 641 F.3d at 158 (citing Carnegie-Mellon, 484 U.S. at 357). However,

the Fifth Circuit recognizes that “plaintiffs get to pick their forum and pick the claims they want to

make unless they are blatantly forum shopping.” Guzzino v. Felterman, 191 F.3d 588, 595 (5th

Cir. 1999). The concern of “improper forum manipulation” is “not so serious of a concern that it




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can become a trump card which overrides all of the other factors [courts] are instructed to consider

and balance.” Enochs, 641 F.3d at 161. Accordingly, the Fifth Circuit has found that plaintiffs

can amend their complaints to delete the remaining federal claims without engaging in “improper

forum manipulation.” See, e.g., Giles v. NYLCare Health Plans, Inc., 172 F.3d 332, 340 (5th Cir.

1999).

         Like the plaintiff in Enochs, Plaintiff has not engaged in improper forum manipulation, so

this factor does not outweigh the other factors which support a remand here. See Enochs, 641

F.3d at 161-62 (finding that the plaintiff’s decision to drop his federal claims was “not a

particularly egregious form of forum manipulation, if it is manipulation at all”); see also Parker &

Parsley, 972 F.2d at 582, 590 (finding that the district abused its discretion in exercising

supplemental jurisdiction even where the plaintiff had chosen to file its claims in federal court

originally). Here, Plaintiff originally filed suit in state court in Houston and only alleged what he

believed to be state-law claims. Plaintiff sued a Harris County defendant who did not attempt to

transfer the case to any other county. Plaintiff believed then, as he does now, that there was no

basis for removal. Now that the case has again become a purely Texas state-law dispute, Plaintiff

merely seeks to return to the court where the case was originally filed, and in which he believes the

case belongs. As such, Plaintiff has not engaging in improper forum manipulation, and this

consideration does not weigh against remand.

                         III.    ALTERNATIVELY, MOTION TO DISMISS

         Alternatively, pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff moves to

dismiss without prejudice his claims against the remaining defendants. See Fed. R. Civ. P.

41(a)(2). Motions for voluntary dismissal should be freely granted unless the nonmoving party

will suffer some plain legal prejudice other than the mere prospect of a second lawsuit. See




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Manshack v. Southwestern Elec. Power Co., 915 F.2d 172, 174 (5th Cir.1990). The primary

purpose of Rule 41(a)(2) is to “prevent voluntary dismissals which unfairly affect the other side,

and to permit the imposition of curative conditions.” Id. (citing 9 C. Wright & A. Miller, Federal

Practice and Procedure § 2364, at 165 (1971)). Therefore, faced with a Rule 41(a)(2) motion the

district court should first ask whether an unconditional dismissal will cause the non-movant to

suffer plain legal prejudice. If not, it should generally, absent some evidence of abuse by the

movant, grant the motion. If the district court concludes that granting the motion unconditionally

will cause plain legal prejudice, it has two options, it can deny the motion outright or it can craft

conditions that will cure the prejudice. The exclusive basis for this Court’s original subject matter

jurisdiction, federal question, was destroyed when Cheramie Marine was dismissed. Plaintiff has

no claims arising under federal law. There is incomplete diversity of jurisdiction among Plaintiffs

and the remaining defendants. Defendants will not suffer any plain legal prejudice by this

dismissal. Almost no discovery has yet occurred in this case and no depositions have occurred. For

these reasons, and in the alternative, Plaintiff respectfully asks this Court to dismiss his claims

against the remaining Defendants without prejudice as to refilling.

                                         IV.     CONCLUSION

       For the foregoing reasons, well-established United States Supreme Court and Fifth Circuit

precedent weigh heavily in favor of remanding to state court in Houston for Plaintiff’s remaining

state law negligence claims. Therefore, Plaintiff respectfully requests that this Court decline to

exercise its supplemental jurisdiction and remand this case back the 190th Judicial District Court

of Harris County, Texas. Plaintiffs further request any other relief to which they may be entitled.




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                                       Respectfully submitted,

                                       THE BUZBEE LAW FIRM

                                       By: /s/ Anthony G.Buzbee
                                           Anthony G. Buzbee
                                           State Bar No. 24001820
                                           Federal Bar No. 22679
                                            JPMorgan Chase Tower
                                           600 Travis, Suite 7300
                                           Houston, Texas 77002
                                           Tel: (713) 223-5393
                                           Fax: (713) 223-5909
                                           Email: tbuzbee@txattorneys.com

                                       ATTORNEYS FOR PLAINTIFF

OF COUNSEL:
Christopher J. Leavitt
State Bar No. 24053318
Fed. ID No. 1045581
J.P. Morgan Chase Tower
600 Travis, Suite 7300
Houston, Texas 77002
Phone: (713) 223-5393
Facsimile: (713) 223-5909
Email: CLeavitt@txattorneys.com




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                                   CERTIFICATE OF CONFERENCE

       I hereby certify that Plaintiff’s counsel conferred with all interested parties in accordance with
the Federal Rules of Civil Procedure on January 23, 2018, but none of the interested parties
responded to Plaintiff’s letter. Accordingly, this motion is being filed as opposed.




                                                                   /s/ Christopher J. Leavitt
                                                                     Christopher J. Leavitt




                                      CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of this document has been duly served on all
interested parties in accordance with the Federal Rules of Civil Procedure on the January 24, 2018.




                                                                   /s/ Christopher J. Leavitt
                                                                     Christopher J. Leavitt




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                                                                                               Filed: 10/3/2017 2:47 PM

                                    CAUSE NO. ________

MARCUS WILSON,                       §                      IN THE DISTRICT COURT OF
Plaintiff,                           §
                                     §                      ____ JUDICIAL DISTRICT
vs.                                  §
                                     §                      HARRIS COUNTY, TEXAS
TEICHMAN GROUP, LLC, T&T MARINE, §
INC., EXPRESS PROFESSIONAL           §
SERVICES, INC. & OSG LIGHTERING, LLC §
Defendants.                          §                      JURY TRIAL DEMANDED

                           PLAINTIFF’S ORIGINAL PETITION

TO THIS HONORABLE COURT:

       Plaintiff files this Original Petition against Defendants Teichman Group, LLC, T&T

Marine, Inc., Express Professional Services, Inc., and OSG Lightering, LLC and respectfully

show this Honorable Court the following:

                                    Summary of this Case

       On September 20, 2017, Blake Carlisle was working for Express Professional Services at

the T&T Marine facility in Galveston. This facility was leased to OSG Lightering. T&T Marine

is a subsidiary of the Teichman Group, LLC. Teichman is an international provider of marine

services to companies across the globe. Plaintiff had only begun working at this facility several

days before. On the day of the incident, OSG Lightering was offloading and backloading a

vessel at the T&T owned facility. OSG was using a T&T Marine crane and crane operator. At

approximately 11am on September 20, a crane toppled over on top of Blake Carlisle during his

shift, killing him. The crane was being operated without its outriggers extended, making the

crane extremely dangerous to use.      But for the egregious conduct of the Defendants, this

preventable accident would not have occurred.

       Plaintiff seeks more than $25 million from the Defendants.            PLAINTIFF'S
                                                                                                    exhibitsticker.com




                                                                               EXHIBIT

                                                                                      1
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                                               I.
                                     Discovery Control Plan

        Plaintiff intends to conduct discovery under Level 2.

                                               II.
                                             Parties

        Plaintiff Marcus Wilson is a resident of Texas. Mr. Wilson is the father of Blake

Carlisle.

        Defendant T&T Marine, Inc. is a domestic corporation doing business in Texas.

Defendant can be served via its registered agent in Texas, Deborah Busby, 9738 Teichman Road,

Galveston, TX 77554.

        Defendant Teichman Group, LLC is a domestic limited liability company doing business

in Texas. Defendant can be served via its registered agent in Texas, Deborah Busby, 9738

Teichman Road, Galveston, TX 77554.

        Defendant Express Professional Services, Inc. is a domestic for profit corporation doing

business in Texas. Defendant can be served via its registered agent in Texas, Daniel Nino, at

10190 Katy Freeway, Ste. 5100, Houston, Texas 77043.

        Defendant OSG Lightering, LLC is a foreign limited liability company doing business in

Texas. Defendant can be served via registered agent in Texas, CT Corp System, 1999 Bryan St.,

Ste. 900, Dallas, TX 75201.

                                             III.
                                     Venue and Jurisdiction

        Plaintiff seeks damages in excess of $75,000.00, exclusive of interest and costs; however,

federal courts lack subject matter over this action, as there is no federal question and there is

incomplete diversity of citizenship due to the presence of a plaintiff and a defendant who are

both residents and citizens of Texas. Removal would thus be improper. No party is asserting



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any claims arising under the Constitution, treaties, or laws of the United States. Venue is proper

in this County as at least one Defendant maintains a principal office here.

                                                 IV.
                                                Facts

        This case arises from negligence that occurred at Plaintiff’s place of work.               An

improperly placed and operated crane was operating at the T&T Marine facility on September

20, 2017. The crane, an 80 ton Tadano GT 800XL, overturned while operating free on wheels

with a fair bit of boom extended. The crane fell over sideways, and, according to local reports, its

boom landed on Mr. Carlisle and his co-worker. These two workers eventually died from their

injuries.

                                               V.
                                         Causes of Action

Negligence – All Defendants

        Plaintiff incorporates the preceding paragraphs of this Petition as if set forth fully below.

        Defendants owned and operated the crane. The crane was placed negligently and was

being operated negligently. Specifically, Defendants breached their duty in the following ways:

        1.    Causing, or permitting to be caused, a crane collapse;

        2.     Failing to maintain a safe work place;

        3.     Failing to have a reliable system to prevent the incident;

        4.     Failing to operate the crane in a safe and prudent manner;

        5.     Failing to exercise reasonable and prudent care in the operations which were
               occurring at the facility on the date of the incident;

        6.     Failing to implement, follow, and enforce proper operations procedures;

        7.     Failing to keep a proper lookout;

        8.     Failing to implement, follow, and enforce proper safety procedures;



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       9.      Failing to properly inspect, maintain and equip the crane in a prudent manner;

       10.     Failing to implement, follow, and enforce proper hazard analysis;

       11.     Failing to properly operate the crane;

       12.     Failing to properly train and staff members operating the Crane;

       13.     Failing to properly supervise those operating the Crane;

       14.     Failing properly maintain the Crane;

       15.     Failing to properly inspect the Crane;

       16.     Failure to properly stabilize the Crane.

       Defendants’ breach of these duties, one or a combination thereof, proximately caused

injuries brought forth by the Plaintiff.

       The acts of negligence committed by Defendants’ agents, servants, and/or employees

arose directly out of and was done in prosecution of the business that they were employed to do

by Defendant, who is therefore liable under the doctrine of respondeat superior for their

negligent actions.

Gross Negligence – All Defendants

       Defendants were grossly negligent and acted with malice, as those terms are understood

under Texas law, and such conduct was a proximate cause of the occurrence and of Plaintiffs’

injuries and damages.      Defendants’ malicious and grossly negligent conduct justifies the

imposition of punitive and exemplary damages both as punishment to Defendants for their

callous disregard and as a deterrent to others from engaging in similar conduct. Plaintiffs

therefore ask for and are entitled to punitive and exemplary damages in addition to all actual

damages.




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                                                VI.
                                              Damages

       As stated, Plaintiff’s injuries are extensive. The Plaintiff in this case seeks wrongful

death damages, and survival damages on behalf of the estate. As a direct and proximate result of

the foregoing events, Plaintiff has suffered damages in the past and, in reasonable probability, will

continue to suffer damages in the future, including mental anguish, loss of services, and loss of

consortium, all for which Plaintiffs seek recovery herein.

       Plaintiff seeks all wrongful death damages allowed by Texas law.

                                              VII.
                                       Exemplary Damages

       Plaintiff seeks to recover exemplary damages against all Defendants based on their gross

negligence in causing the incident and resulting injuries and damages made the basis of this suit.

                                             VIII.
                                         Demand for Jury

       Plaintiff demands a jury trial and has tendered the appropriate fee.

                                                IX.
                                      Requests for Disclosure

         Pursuant to Tex. R. Civ. P. 194, Plaintiffs requests that each Defendants disclose within

fifty (50) days of service of this Request for Disclosure, the information and/or material

described in Rule 194.2.

                                                 X.
                                               Prayer

       For these reasons, Plaintiff asks that Defendants be cited to appear and answer, and that

they have judgment against Defendants for the following:




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  a.   Actual damages for mental anguish, loss of consortium, wrongful death damages,

       and loss of services, within the jurisdictional limits of this Court, but no less than

       $25,000,000:

  b.   Exemplary damages;

  c.   Court costs;

  d.   Pre and post judgment interest; and

  e.   All other relief to which the Plaintiff is justly entitled.

                                            Respectfully submitted,

                                            THE BUZBEE LAW FIRM
                                           By: /s/ Anthony G.Buzbee
                                               Anthony G. Buzbee
                                               State Bar No. 24001820
                                               tbuzbee@txattorneys.com
                                               Christopher J. Leavitt
                                               State Bar No. 24053318
                                               cleavitt@txattorneys.com
                                               JP Morgan Chase Tower
                                               600 Travis, Suite 6850
                                               Houston, Texas 77002
                                               Telephone: (713) 223-5393
                                               Facsimile: (713) 223-5909

                                            ATTORNEYS FOR PLAINTIFF




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                                                            PLAINTIFF'S
                                                                          exhibitsticker.com




                                                              EXHIBIT

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                                                                              Chris Daniel - District Clerk Harris County
                                                                                                Envelope No. 20917346
                                                                                                         By: Lisa Thomas
                                                                                             Filed: 11/27/2017 4:01 PM

                                   CAUSE NO. 2017-65533

MARCUS WILSON,                       §                      IN THE DISTRICT COURT OF
Plaintiff,                           §
                                     §                      190th JUDICIAL DISTRICT
vs.                                  §
                                     §                      HARRIS COUNTY, TEXAS
TEICHMAN GROUP, LLC, T&T MARINE, §
INC., EXPRESS PROFESSIONAL           §
SERVICES, INC. & OSG LIGHTERING, LLC §
Defendants.                          §                      JURY TRIAL DEMANDED

                       PLAINTIFF’S FIRST AMENDED PETITION

TO THIS HONORABLE COURT:

       Plaintiff files this Original Petition against Defendants Teichman Group, LLC, T&T

Marine, Inc., Express Professional Services, Inc, OSG Lightering, LLC, and Cheramie Marine,

LLC and respectfully show this Honorable Court the following:

                                    Summary of this Case

       On September 20, 2017, Blake Carlisle was working for Express Professional Services at

the T&T Marine facility in Galveston. This facility was leased to OSG Lightering. A Cheramie

Marine vessel was being offloaded. T&T Marine is a subsidiary of the Teichman Group, LLC.

Teichman is an international provider of marine services to companies across the globe. Plaintiff

had only begun working at this facility several days before. On the day of the incident, OSG

Lightering was offloading and backloading a Cheramie Marine vessel at the T&T owned facility.

OSG and Cheramie Marine were using a T&T Marine crane and crane operator.                           At

approximately 11am on September 20, a crane toppled over on top of Blake Carlisle during his

shift, killing him. The crane was being operated without its outriggers extended, making the

crane extremely dangerous to use.      But for the egregious conduct of the Defendants, this

preventable accident would not have occurred.
                                                                                PLAINTIFF'S
                                                                                                        exhibitsticker.com




                                                                                  EXHIBIT

                                                                                         3
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        Plaintiff seeks more than $25 million from the Defendants.

                                               I.
                                     Discovery Control Plan

        Plaintiff intends to conduct discovery under Level 2.

                                                II.
                                              Parties

        Plaintiff Marcus Wilson is a resident of Texas. Mr. Wilson is the father of Blake

Carlisle.

        Defendant T&T Marine, Inc. is a domestic corporation doing business in Texas.

Defendant can be served via its registered agent in Texas, Deborah Busby, 9738 Teichman Road,

Galveston, TX 77554. No citation is requested at this time.

        Defendant Teichman Group, LLC is a domestic limited liability company doing business

in Texas. Defendant can be served via its registered agent in Texas, Deborah Busby, 9738

Teichman Road, Galveston, TX 77554. No citation is requested at this time.

        Defendant Express Professional Services, Inc. is a domestic for profit corporation doing

business in Texas. Defendant can be served via its registered agent in Texas, Daniel Nino, at

10190 Katy Freeway, Ste. 5100, Houston, Texas 77043. No citation is requested at this time.

        Defendant OSG Lightering, LLC is a foreign limited liability company doing business in

Texas. Defendant can be served via registered agent in Texas, CT Corp System, 1999 Bryan St.,

Ste. 900, Dallas, TX 75201. No citation is requested at this time.

        Defendant Cheramie Marine, LLC is a foreign limited liability company doing business

in Texas. Defendant does not keep a registered agent in Texas, and, as such, this defendant must

be served via the Texas Secretary of State at Secretary of State, P.O. Box 12079, Austin, Texas




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78711-2079, for service upon Cheramie’s President, Dino Cheramie, at 11603 Hwy 308, Larose,

Louisiana 70373.

                                              III.
                                      Venue and Jurisdiction

        Plaintiff seeks damages in excess of $75,000.00, exclusive of interest and costs; however,

federal courts lack subject matter over this action, as there is no federal question and there is

incomplete diversity of citizenship due to the presence of a plaintiff and a defendant who are

both residents and citizens of Texas. Removal would thus be improper. No party is asserting

any claims arising under the Constitution, treaties, or laws of the United States. Venue is proper

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                                                Facts

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20, 2017. The crane, an 80 ton Tadano GT 800XL, overturned while operating free on wheels

with a fair bit of boom extended. The crane fell over sideways, and, according to local reports, its

boom landed on Mr. Carlisle and his co-worker. These two workers eventually died from their

injuries.

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       2.      Failing to maintain a safe work place;

       3.      Failing to have a reliable system to prevent the incident;

       4.      Failing to operate the crane in a safe and prudent manner;

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               occurring at the facility on the date of the incident;

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       7.      Failing to keep a proper lookout;

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by Defendant, who is therefore liable under the doctrine of respondeat superior for their

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Gross Negligence – All Defendants

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under Texas law, and such conduct was a proximate cause of the occurrence and of Plaintiffs’

injuries and damages.      Defendants’ malicious and grossly negligent conduct justifies the

imposition of punitive and exemplary damages both as punishment to Defendants for their

callous disregard and as a deterrent to others from engaging in similar conduct. Plaintiffs

therefore ask for and are entitled to punitive and exemplary damages in addition to all actual

damages.

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death damages, and survival damages on behalf of the estate. As a direct and proximate result of

the foregoing events, Plaintiff has suffered damages in the past and, in reasonable probability, will

continue to suffer damages in the future, including mental anguish, loss of services, and loss of

consortium, all for which Plaintiffs seek recovery herein.

       Plaintiff seeks all wrongful death damages allowed by Texas law.

                                              VII.
                                       Exemplary Damages

       Plaintiff seeks to recover exemplary damages against all Defendants based on their gross

negligence in causing the incident and resulting injuries and damages made the basis of this suit.

                                             VIII.
                                         Demand for Jury

       Plaintiff demands a jury trial and has tendered the appropriate fee.




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                                               IX.
                                     Requests for Disclosure

        Pursuant to Tex. R. Civ. P. 194, Plaintiffs requests that each Defendants disclose within

fifty (50) days of service of this Request for Disclosure, the information and/or material

described in Rule 194.2.

                                                 X.
                                               Prayer

      For these reasons, Plaintiff asks that Defendants be cited to appear and answer, and that

they have judgment against Defendants for the following:

      a.      Actual damages for mental anguish, loss of consortium, wrongful death damages,

              and loss of services, within the jurisdictional limits of this Court, but no less than

              $25,000,000:

      b.      Exemplary damages;

      c.      Court costs;

      d.      Pre and post judgment interest; and

      e.      All other relief to which the Plaintiff is justly entitled.

                                                   Respectfully submitted,
                                                   THE BUZBEE LAW FIRM
                                                  By: /s/ Anthony G.Buzbee
                                                      Anthony G. Buzbee
                                                      State Bar No. 24001820
                                                      tbuzbee@txattorneys.com
                                                      Christopher J. Leavitt
                                                      State Bar No. 24053318
                                                      cleavitt@txattorneys.com
                                                      JP Morgan Chase Tower
                                                      600 Travis, Suite 6850
                                                      Houston, Texas 77002
                                                      Telephone: (713) 223-5393
                                                      Facsimile: (713) 223-5909
                                                   ATTORNEYS FOR PLAINTIFF


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                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of this document has been duly served on all
known counsel of record and pro se parties in accordance with the Texas Rules of Civil
Procedure on November 27, 2017 as set forth below:

Via Facsimile: (713) 228-6605
Michael K. Bell
David G. Meyer
BLANK ROME, LLP
717 Texas Avenue, Suite 1400
Houston, TX 77002
Counsel for Lightering, LLC

Via Facsimile: (713) 277-7220
Scott R. Davis
HICKS DAVIS WYNN P.C.
3700 Buffalo Speedway, Suite 520
Houston, TX 77098
Counsel for Express Professional Services, Inc.

Via Facsimile: (713) 574-2942
Susan Noe Wilson
Michael W. Hogue
SCHOUEST, BAMHAS, SOSHEA & BENMAIER, PLLC
1001 McKinney, Suite 1400
Houston, TX 77002
Counsel for Teichman Group, LLC & T&T Offshore, Inc.

                                                        /s/ Christopher J. Leavitt
                                                          Christopher J. Leavitt




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARCUS WILSON                                   §
     Plaintiff,                                 §
                                                §
VS.                                             §    Civil Action No. 4:18-CV-162
                                                §
TEICHMAN GROUP, LLC., et al.,                   §
      Defendants.                               §

 ORDER ON PLAINTIFF’S OPPOSED MOTION TO REMAND; ALTERNATIVELY,
              MOTION TO DISMISS WITHOUT PREJUDICE

        Plaintiff’s Motion to Remand was heard by the Court, who having considered the Motion,

grants the same as to form and content.

        It is, therefore, ORDERED that Plaintiff’s motion to remand is hereby GRANTED.

        Alternatively, Plaintiff’s Motion to Dismiss Without Prejudice was heard by the Court,

who having considered the Motion, grants the same as to form and content.

        It is, therefore, ORDERED that Plaintiff’s motion to dismiss is GRANTED, and Plaintiff’s

claims are dismissed without prejudice.



        SIGNED this ____ day of _________________________, 2018.




                                            JUDGE PRESIDING




                                               1
